
PER CURIAM.
Wesley Gonzalez appeals the summary denial of his postconviction relief motion filed pursuant to Florida Rule of Criminal Procedure 3.850. One of his allegations is that his lawyer gave him erroneous advice regarding the gain time that Gonzalez was eligible to receive while serving his prison sentence. If his allegation is true, he may be entitled to relief. Tarpley v. State, 566 So.2d 914 (Fla. 2d DCA 1990); Ray v. State, 480 So.2d 228 (Fla. 2d DCA 1985). We affirm the trial court’s denial of the other points raised by the appellant.
Accordingly, we reverse in part the trial court’s denial of the appellant’s motion and remand the case to the trial court for further proceedings pursuant to Florida Rule of Criminal Procedure 3.850.
DANAHY, A.C.J., and CAMPBELL and PARKER, JJ., concur.
